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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

MICHAEL H. HOLLAND, A, FRANK | a.
DUNHAM, MARTY D. HUDSON, and FILED |

 

 

 

 

 

ELLIOT A. SEGAL, Trustees of
the UNITED MINE WORKERS OF vik — § 200?
AMERICA 1993 BENEFIT PLAN, |
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SAMUEL L. KAY, CLERK |
. ‘>, Thetrict & Bankruptey Courts +
Plaintiffs, ‘herr District of Wasi Virginis _
v8. CIVIL ACTION NO. 5:02-0066
FOUR CORNERS CORPORATION,
a corporation
and

BLUESTONE INDUSTRIES, INC.,
a corporation,

Defendants.

NOTICE AND STIPULATION OF DISMISSAL WITHOUT PREJUDICE

Now come the plaintiffs and the defendant, Bluestone Industries, Inc.,
by counsel, and give notice of, and stipulate to, the dismissal of above civil action
without prejudice, pursuant to Rule 41(a)}(1) of the Federal Rules of Civil Procedure.
The plaintiffs’ case against the defendant Bluestone Industries, Inc. is dismissed by
the agreement represented by this stipulation, and the plaintiffs' case against

‘defendant Four Comers Corporation is dismissed by this notice, pursuant to Rule
41(a)(1\(i), since the defendant Four Corners Corporation has not filed an answer

or otherwise appeared in this case.
“Filed 09/06/02 Page 2 of 2 PagelD #: 162

Jointly submitted,

ALE

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